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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                   WACO DIVISION


CORRIGENT CORPORATION,                                 Case No. 6:22-cv-396-ADA

                Plaintiff,

       v.

CISCO SYSTEMS, INC.,

                Defendant.



                STATUS REPORT REGARDING CISCO SYSTEMS, INC.’S
                            MOTION TO TRANSFER

       Pursuant to the Court’s September 16, 2022 Standing Order Governing Proceedings

(Version 4.2), Defendant Cisco Systems, Inc. (“Cisco”) hereby submits this Status Report to notify

the Court that Cisco’s Motion to Transfer (Dkt. 39) was fully briefed and ready for resolution as

of January 4, 2023.
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Dated: January 19, 2023          By: /s/ Shaun W. Hassett, with permission by
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